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                       IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

JARED CARTY and                           )
PIMPORN CARTY,                            )
                                          )                  C.A. No. 5:20-cv-05585-ETH
                      Plaintiffs,         )
                                          )
       v.                                 )
                                          )
STEEM MONSTERS CORP.                      )
(d/b/a Splinterlands) (successor to Steem )
Monsters LLC), STEEM ENGINE CORP., )
BLAIRE JESSE REICH, and MATTHEW )
J. ROSEN,                                 )
                                          )
                      Defendants.         )


              MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFFS,
                     JARED CARTY AND PIMPORN CARTY


       COMES NOW undersigned counsel, Antranig N. Garibian, Esquire, of Garibian Law

Offices, P.C., and respectfully requests this Court to grant the within Motion to Withdraw and in

support thereof, avers as follows:

1. Undersigned counsel initiated this action on behalf of Plaintiffs and is fully familiar with the

   facts and circumstances of the action.

2. At this time, events have transpired between counsel and Plaintiffs that have necessitated that

   undersigned counsel move to withdraw from representing Plaintiff.

3. In order to protect Plaintiffs’ attorney-client privilege, undersigned counsel will describe the

   issue in general terms in this Motion. Should the Court require additional information,

   counsel will provide same upon request of the Court, in camera or through some other

   method that will prevent disclosure of the content of communications between Plaintiffs and

   counsel.

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4. At this time, communications and difficulties have arisen between Plaintiffs and counsel that

   have made it unreasonably difficult for counsel to continue to represent Plaintiffs.

5. The communications difficulties between Plaintiff and counsel mitigate against the law firm

   continuing as counsel. The representation has been rendered unreasonably uncomfortable by

   difficulty in communication and cooperation and by statements by the client directed to

   counsel.

6. As a result, undersigned counsel notified Plaintiffs on March 15, 2022 that it would be

   withdrawing as counsel. Plaintiffs have indicated that they consent to the withdrawal.

7. Counsel’s withdrawal at the present stage of the matter will not prejudice Plaintiffs’ rights,

   the rights of any other party, or the ultimate outcome of the matter.

8. Counsel respectfully requests that, in the event this Court grants the within Motion, that

   Plaintiffs be provided with a reasonable period of time in which to seek out new counsel or

   advise that they are proceeding pro se.

9. In addition, as a result of the difficulties in client communications, while a substantial

   amount of the written discovery has been answered, counsel has been unable to work with

   Plaintiffs to fully complete outstanding discovery responses. Thus, counsel requests that

   Plaintiff be allowed time to provide any remaining responses after the time period granted by

   the Court to seek new counsel.

10. Counsel sincerely regrets the need to file the instant Motion, but has reached the conclusion

   and Plaintiffs have indicated that they understand, that withdrawal is necessary and

   understandable. Counsel submits that withdrawal should be done as promptly as necessary




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   under the instant circumstances in order to allow Plaintiffs time to retain new counsel or

   prosecute the action pro se if they wish.

       For the foregoing reasons, and as set forth in the accompanying Memorandum of Law,

Plaintiffs' counsel respectfully requests that the Court grant this motion to withdraw as counsel for

Plaintiffs in this litigation and/or schedule a teleconference to allow undersigned counsel to provide the

Court, ex parte, any additional information that the Court should require in order to grant the instant

motion.

                                      GARIBIAN LAW OFFICES, P.C.


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